               Case 1:15-cv-00701-JWF Document 60-2 Filed 08/30/18 Page 1 of 4




    UNITED STATES DISTRICT COURT
1   WESTERN DISTRICT OF NEW YORK
2   ------------------------------------------------------------------X
    DOUGLAS J. HORN and CINDY HARP-HORN,
3                                                                         Civ Action No: 15-cv-701 FPG/MJR
                                       Plaintiff,
4                                                                         DECLARATION of
              -against-                                                   JEFFREY BENJAMIN, ESQ.
5
6
    MEDICAL MARIJUANA, INC.,
7   DIXIE ELIXIRS AND EDIBLES,
    RED DICE HOLDINGS, LLC, and
8   DIXIE BOTANICALS,
9                                       Defendants,
    ------------------------------------------------------------------X
0
    DECLARATION OF JEFFREY BENJAMIN IN SUPPORT OF PLAINTIFF’S MOTION
1                   FOR PARTIAL SUMMARY JUDGMENT

2
              I, Jeffrey Benjamin, Esq., declare under penalty of perjury, as provided for by the laws of
3
    the United States, that the following statements are true:
4
    1.    I am an attorney and counselor at law, duly admitted to practice before the Courts of the
5
    State of New York and this Court, and counsel for Plaintiffs. As such, I am fully familiar with
6
    the facts stated and Exhibits submitted in support of the instant Motion for Partial Summary
7
    Judgment.
8
    I. The Pleadings
9
         2.   Attached hereto as Exhibit “A” is a copy of Plaintiffs’ Complaint.
0
         3.   Attached hereto as Exhibit “B” is a copy of the Answer of Defendants MEDICAL
1
              MARIJUANA, INC. and RED DICE HOLDINGS, LLC.
2
         4.   Attached hereto as Exhibit “C” is a copy of the Answer of Defendant DIXIE ELIXIRS,
3
              LLC sued herein as DIXIE ELIXIRS AND EDIBLES and DIXIE BOTANICALS.
4
    II. Plaintiffs’ Affidavit
5
         5. Attached immediately hereto is Plaintiffs’ Affidavit in Support.
6
7                                                           1
8
        Case 1:15-cv-00701-JWF Document 60-2 Filed 08/30/18 Page 2 of 4




    6. Attached hereto as Exhibit “1” is a copy of the “High Times” magazine advertisement
1
2   (Page 42) Plaintiffs’ obtained and read.

3   7. Attached hereto as Exhibit “2” is a copy of the Defendant Dixie’s Frequently Asked

4   Questions (“FAQs”) that existed in September, 2012.
5
    8. Attached hereto as Exhibit “3” is a copy of Defendant Dixie’s Frequently Asked
6
    Questions (“FAQs”) that existed in or before April, 2015. Stating:
7
8      “Does Cannibidiol (CBD) and other natural hemp based constituents show up on a

9      drug test?” (bold in the original).

0             “Most workplace drug screens and tests target delta9-tetrahydrocannabinol
1      (THC) and do not detect the presence of Cannabidiol (CBD) or other legal
       natural hemp based constituents. However, studies have shown that eating hemp
2      foods and oils can cause confirmed positive results when screening urine and
       blood specimens. Accordingly, if you are subject to any form of drug testing, we
3      recommend (as does the United States Military) that you DO-NOT ingest our
       products, and consult with your healthcare, drug screening/testing company or
4      employer.” Emphasis added.
5
    9. Attached hereto as Exhibit “4” is a copy of Defendants’ Invoice and Packing Slip for
6
    Plaintiffs’ September 17, 2012 purchase of the Dixie X Elixir Tincture product at issue.
7
    10. Attached hereto as Exhibit “5” is a copy of the report of Plaintiff Douglas Horn’s drug
8

9   screening on October 9, 2012 showing a positive result for THC.

0   11. Attached hereto as Exhibit “6” are copies of the EMSL labs invoice, analysis and
1   confirmation of the THC content in Defendants’ Tincture product, and Chain of Custody
2
    document.
3
    12. Attached hereto as Exhibit “7” is a copy of the e-mail chain from the EMSL lab’s
4
    National Director Scott Van Etten denying Plaintiff the return of the sample due to THC
5
6   content.

7                                               2
8
               Case 1:15-cv-00701-JWF Document 60-2 Filed 08/30/18 Page 3 of 4




           13. Attached hereto as Exhibit “8” are copies of the Certificates of Analysis produced by
1
2          Defendants’ in discovery confirming their representative sample product tested contained

3          .05% and .04% THC respectively.

4          14. Attached hereto as Exhibit “9” are copies of the label on Defendants’ tincture product
5
           that Plaintiff took and that which was tested, showing the absence of any reference to THC or
6
           Controlled Substances.
7
           15. Attached hereto as Exhibit “10” is a copy of Dixie Elixirs and Edibles’ (the “THC-
8
9          infused products company”) May 2, 2012 press release announcing their launch of the Dew

0          Drops tincture product at issue, and their breaking new ground in the category of non-THC-

1          infused products.
2          16. Attached hereto as Exhibit “11” is a copy of the Facebook post of Tamar Wise, former
3
           Chief Scientist at Defendant Medical Marijuana and Dixie Elixirs denouncing Defendants’
4
           products, stating “unfit for human consumption” and accusing Defendants a acting “criminal
5
           and dangerous.”
6
7          17. Attached hereto as Exhibit “12” are the relevant portions of Defendants’ Botanist expert

8          Dr. Cindy Orser’s deposition transcript, who testified on December 12, 2017.
9          18. Attached hereto as Exhibit “13” is a copy of Plaintiffs’ expert economist Dr. Mark
0
           Zaporowski’s Curriculum Vitae.
1
           19. Attached hereto as Exhibit “14” is a copy Dr. Zaporowski’s expert economist’s Report
2
           calculating Plaintiffs’ damages.
3
4   III.      Affidavit and Reports of Dr. Kenneth D. Graham, Ph.D., R.Ph.
5
6          20. Also attached immediately hereto is the Affidavit of Plaintiffs’ Forensic Toxicologist

7                                                      3
8
           Case 1:15-cv-00701-JWF Document 60-2 Filed 08/30/18 Page 4 of 4




       and Pharmacologist Kenneth D. Graham.
1
2      21. Attached to Dr. Graham’s Affidavit as Exhibit “I” is a copy of his Curriculum Vitae.

3      22. Attached to Dr. Graham’s Affidavit as Exhibit “II” is a copy of Dr. Graham’s expert

4      report of August 29, 2017 in which he describes the liability of Defendants in the law.
5
       23. Attached to Dr. Graham’s Affidavit as Exhibit “III” is a copy of his October 30, 2017
6
       Supplemental (Rebuttal) Report to Defendants’ expert report.
7
8   Dated: New York, New York                           KUPILLAS, UNGER & BENJAMIN, LLP

9         August 29, 2018                               Jeffrey Benjamin
                                                        Jeffrey Benjamin, Esq.,
0                                                       Attorney for Plaintiffs
1                                                       5 Penn Plaza, 23rd Floor
                                                        New York, New York 10001
2                                                       (212) 655-9536

3
4
5
6
7
8

9
0
1
2
3
4

5
6
7                                                  4
8
